






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00146-CR






Christopher Stoglin, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT


NO. 9014214, HONORABLE JON N. WISSER, JUDGE PRESIDING






O R D E R


PER CURIAM

The clerks's record does not contain a copy of the trial court's certification of
defendant's right of appeal.  Tex. R. App. P. 25.2(d), 34.5(a)(12).  A supplemental clerk's record
containing the certification was requested, but has not been received.  Tex. R. App. P. 34.5(c).

The district court is ordered to prepare a certification of the defendant's right of
appeal that substantially conforms with the form promulgated by the court of criminal appeals, to
present the certification to appellant's counsel, and to file the completed and signed certification with
the district clerk.  Tex. R. App. P. 34.5(c), 37.1.  Upon receipt of the court's revised certification of
the defendant's right of appeal, the district clerk shall prepare a supplemental clerk's record.  The
supplemental record shall be tendered for filing no later than August 15, 2003.

It is ordered July 25, 2003.


Before Chief Justice Law, Justices B. A. Smith and Puryear

Do Not Publish 


